From:           Lee Curry
To:             Jamie Huffman Jones; Scott H. Tucker                               EXHIBIT 5
Cc:             Rob Hodge; Amanda Kennedy; Andrea Pate-Sowell
Subject:        Adelsberger et ux v. Union Pacific, 4:21-cv-00293
Date:           Monday, August 22, 2022 3:04:09 PM


CAUTION: External Email


Dear Counselors:

Below please find a link to download Plaintiffs' supplemental disclosures in the above-
referenced matter.

2022-08-22 Supplemental Disclosures

Please contact me if you have any questions.
--
Sincerely,

Lee Curry
Lassiter & Cassinelli
300 S. Spring St., Suite 800
Little Rock, Arkansas 72201
phone: 501-370-9300
facsimile: 501-370-9306

NOTICE: This message and any attachment(s) are intended only for the addressee
and may contain information that is privileged and/or confidential. If the reader of
the message is not the intended recipient or an authorized representative of the
intended recipient, the sender did not intend to waive and does not waive any
privilege or the confidentiality of the message and any attachment(s), and you are
hereby notified that any dissemination of this communication is strictly prohibited. If
you receive this communication in error, please notify the sender and/or the firm's
administrator immediately by e-mail at office@lcarklaw.com or by telephone at (501)
370-9300 and delete the message and attachments from your computer and
network. Thank you.
